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                  EXHIBIT 8
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                                                                                                                                  1000 Darden Center Drive
Darden Restaurants, Inc.
                                                                                                                                           Orlando , FL 32837




IMMIGRATION LETTER

Information current as of : 04/20/2018

March 11, 2025

To whom it may concern,

Please see the details below provided by Darden Restaurants, Inc..


Name: Drew A Desbordes
Employment Status: No longer active as of 04/10/2018
Job Title: Server
Original Hire Date: 03/25/2018
Most Recent Start Date: 03/25/2018
Total Time With Employer: 0 Years, 1 Months
Rate of Pay: $2.13 Hourly
Gross Total Income (Year to Date): $0.00




Sincerely,

Darden Restaurants, Inc.



The Immigration Verification is only valid for use by the U.S. Department of Homeland Security, U.S. Citizenship and Immigration Services, and Foreign Government
Agencies and Embassies. The verification above is a summary of data provided to The Work Number by the employer stated above. If any of the listed information
is missing, it is because the employer did not provide this information for inclusion in The Work Number. Information not provided by the employer is shown as
"Data Not Provided."

This document is not suitable for use by lending institutions, credit agencies, pre-employment firms, property managers, or other private industry or social service
agency entities who are determining an individual's eligibility for any employment, credit, governmental benefit or other purposes authorized under the FCRA. This
letter does not comply with the underwriting requirements of Fannie Mae or Freddie Mac, nor does it satisfy other standards typically required for private industry
and social service agency verifications. Visit theworknumber.com to obtain an official verification from The Work Number.

For questions, Call:   1-800-996-7566
Hearing impaired clients may call   1-800-424-0253 / TTY                                                                                 www.theworknumber.com




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